                Case 4:06-cr-00104-JMM                       Document 338          Filed 02/08/10          Page 1 of 5
~A0245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1                                                                                                        F~
=======================================EA=S=T~MI:l!RtF.~g'STRICT A~
                                     UNITED STATES DISTRICT COURT
                                                                                                                         FEB - B2010
                                                         Eastern District of Arkansas                    JA~~'~RMACKICl,..~~~.
                                                                                                         By. c......'~           .... ~      .
          UNITED STATES OF AMERICA                                      Judgment in a Criminal CaseiBe&~
                             v.                                         (For Revocation of Probation or Supervised Release)
          LANORA MARSHELLE GLASS

                                                                        Case No. 4:06cr00104-06 .IMM
                                                                        USM No. 24083-009
                                                                        Lisa G. Peters
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           Special, General & Std 6        of the term of supervision.
D was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                               Violation Ended
General                           Failure to refrain from possessing an illegal substance                      10/26/2009



Special                           Failure to attend mental health counseling                                   10/22/2009


       The defendant is sentenced as provided in pages 2 through            5       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes 1ll
econorruc CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5400                     02/05/2010
                                                                                           Date of Imposition of Judgment
Defendant's Year of Birth:          1975

City and State of Defendant's Residence:                                                         Signature of Judge          )
Little Rock, AR 72201
                                                                        James M. Moody                                   US District Judge
                                                                                               Name and Title of Judge

                                                                        02/08/2010
                                                                                                        Date
                 Case 4:06-cr-00104-JMM                       Document 338     Filed 02/08/10          Page 2 of 5
AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1A

                                                                                                  Judgment-Page   _.=.2_ of     5
DEFENDANT: LANORA MARSHELLE GLASS
CASE NUMBER: 4:06cr00104-06 JMM

                                                        ADDITIONAL VIOLATIONS

                                                                                                                        Violation
Violation Number                 Nature of Violation                                                                    Concluded
Special                          Failure to complete residential treatment                                              01/09/2010



Special                          Failure to complete substance abuse treatment                                          10/30/2009



Standard 6                       Failure to answer truthfully inquiries by the probation office                         01/11/2010
                     Case 4:06-cr-00104-JMM                       Document 338      Filed 02/08/10       Page 3 of 5
  AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                  Judgment - Page   _..;;.3_ of   5
  DEFENDANT: LANORA MARSHELLE GLASS
  CASE NUMBER: 4:06cr00104-06 JMM


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
NINE (9) MONTHS




       "    The court makes the following recommendations to the Bureau of Prisons:

Defendant shall participate in whatever substance abuse treatment program is available and mental heath counseling.
Defendant shall serve her term of imprisonment at Bryan, Texas.



       D The defendant is remanded to the custody of the United States Marshal.

       D The defendant shall surrender to the United States Marshal for this district:
         D at _ _ _ _ _ _ _ _ _ D a.m.                    D p.m.      on
            D    as notified by the United States Marshal.

       "    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            r3/ before 2 p.m. on _04_'_05_'_2_01_0                         _
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                    to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                               By
                                                                                           DEPUTY UNITED STATES MARSHAL
                  Case 4:06-cr-00104-JMM                       Document 338                           Filed 02/08/10                                  Page 4 of 5
  AD 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 5 - Criminal Monetary Penalties

                                                                                                                                  Judgment - Page            _....:.4__   of   5
  DEFENDANT: LANORA MARSHELLE GLASS
  CASE NUMBER: 4:06cr00104-06 JMM
                                CRIMINAL MONETARY PENALTIES

       The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                      Assessment                                                     Fine                                                     Restitution
 TOTALS           $ 60.00                                                           $ 0.00                                                  $ 12,390.27


  CII] The determination of restitution is deferred until
       entered after such determination.
                                                               -----. An Amended Judgment in a Criminal Case (AO 245C) will be

  D    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
       in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
       be paid before the United States is paid.




Bank of America                                                                                                   $8.914.00


Metropolitan Bank                                                                                                 $3,476.27




 TOTALS                                      $~                    ---.,;O....;,,;'O;.,,;;O_    $                ....;.12;:::.:,~39.;;.,;0....;..2.....;7_



  D    Restitution amount ordered pursuant to plea agreement $

  D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 5612(g).


       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       It the interest requirement is waived for the              D fine                       It restitution.
       D the interest requirement for the            D     fine        D restitution is modified as follows:


 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
                  Case 4:06-cr-00104-JMM                       Document 338           Filed 02/08/10      Page 5 of 5

AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 6 - Schedule of Payments

                                                                                                    Judgment- Page      5      of       5
DEFENDANT: LANORA MARSHELLE GLASS
CASE NUMBER: 4:06cr00104-06 JMM

                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A      r;t Lump sum payment of $ _6_0_._0_0                      _ due immediately, balance due

            [J not later than                                           , or
            ~ in accordance with          D C,        [J    D,     D E,or      ~ F below); or
B      D    Payment to begin immediately (may be combined with                 D C,     D D, or   D Fbelow); or
C      D    Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D      D    Payment in equal             (e.g., weekly, monthly, quarterly) installments of $                    over a period of
           _ _ _ _ _ (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E      D    Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F      ~ Special instructions regarding the payment of criminal monetary penalties:
        During incarceration the defendant will pay 50% per month of all funds available to her. This excludes gifts and
        gratuities from family and/or friends.




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary renalties is due during the period of imprisonment. All criminal monetary penaltIes, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




~ Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
      corresponding payee, if appropriate.
    4:06cr00104-01 - Courtney Johnson; 4:06cr00104-07 - Lacresha Nichole Pugh;
    4:06cr001 04-08 ~IMM - Khaleelah Rahshane Powell; 4:06cr001 04-09 JMM; 4:07cr00200-01 WRW - Valencia White
    Restitution shall be joint and several with any other person who has been or will be convicted on an offense for which
    restitution to the same victim on the same loss is ordered.
D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
